Case 1:25-cv-00916-JDB   Document 19-25   Filed 04/08/25   Page 1 of 3




     EXHIBIT 22
        Case 1:25-cv-00916-JDB               Document 19-25           Filed 04/08/25        Page 2 of 3



Fact Sheet: President Donald J. Trump Addresses Risks
from WilmerHale
   whitehouse.gov/fact-sheets/2025/03/fact-sheet-president-donald-j-trump-addresses-risks-from-wilmerhale

                                                                                                      March 27, 2025




Fact Sheets
SUSPENDING SECURITY CLEARANCES TO PROTECT THE NATIONAL INTEREST:
Today, President Donald J. Trump signed an Executive Order to suspend security clearances
held by individuals at Wilmer Cutler Pickering Hale and Dorr LLP (WilmerHale) pending a
review of whether such clearances are consistent with the national interest.

     Security clearances held by WilmerHale employees will be immediately suspended,
     pending a review of whether their access to sensitive information is consistent with the
     national interest.
             The Federal Government will halt all material and services, including sensitive
             compartmented information facility (SCIF) access provided to WilmerHale and
             restrict its employees’ access to government buildings.
             Federal Agencies will also refrain from hiring WilmerHale employees unless
             specifically authorized.
     To ensure taxpayer dollars no longer go to contractors whose earnings subsidize
     activities not aligned with American interests, the Federal Government will terminate
     contracts that involve WilmerHale.
     The practices of WilmerHale will be reviewed under Title VII to ensure compliance with
     civil rights laws against racial bias.


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       Case 1:25-cv-00916-JDB        Document 19-25       Filed 04/08/25    Page 3 of 3

ADDRESSING ROGUE LAW FIRMS: President Trump believes that lawyers and law firms
that engage in conduct detrimental to critical American interests should not be subsidized by
American taxpayers or have access to our Nation’s secrets.

     WilmerHale has abandoned the legal profession’s highest ideals and abused its pro
     bono practice to engage in activities that undermine justice and the interests of the
     United States.
     WilmerHale pursues partisan goals, supports efforts to discriminate on the basis of
     race, and backs the obstruction of efforts to prevent illegal aliens from committing
     horrific crimes and trafficking deadly drugs within our borders.
     WilmerHale has furthered the degradation of the quality of American elections by
     supporting efforts designed to enable noncitizens to vote.
     WilmerHale has been accused of discriminating against its own employees on the
     basis of race and other categories prohibited by civil rights laws, including through the
     use of race-based “targets.”
     WilmerHale rewarded Robert Mueller and two of his colleagues by welcoming them to
     the firm after they wielded the power of the Federal government to lead a partisan
     “investigation” against the President and others. Mueller’s investigation epitomizes the
     weaponization of government.

A RETURN TO ACCOUNTABILITY: President Trump is delivering on his promise to end the
weaponization of government and protect the nation from partisan and bad faith actors who
exploit their influence.

     In addition to WilmerHale, President Trump has also taken action to hold other major
     law firms accountable.
     This Executive Order aligns with President Trump’s priority on refocusing government
     operations to serve the citizens of the United States.
     It builds on President Trump’s previous actions, such as signing an Executive Order on
     his first day in office to end the weaponization of the Federal government and ensure
     accountability for past misconduct.
     It follows his revocation of security clearances held by intelligence officials who falsely
     claimed Hunter Biden’s laptop was Russian disinformation during the 2020 election.




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